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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Justin J. Lopez,

COURT FILE NO.: 18-cv-01409

Plaintiff,
v. COMPLAINT
Bleecker, Brodey & Andrews,

Defendants. JURY TRIAL DEMANDED

 

 

 

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Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §
1692k(d), and pursuant to 28 U.S.C. § 1367 for pendent state law claims.
This action arises out of Defendants’ repeated violations of the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and out of the invasions of Plaintiff’ s
personal privacy by the Defendant and its agents in their illegal efforts to collect a consumer
debt from Plaintiff.
Venue is proper in this Distn'ct because the acts and transactions occurred here, Plaintiff
resides here, and Defendants transact business here.

PARTIES

Plaintiff, Justin J. Lopez, is a natural person Who resides at 1005 West Marion Street (at
least since 2004) in the City of Joliet, County of Will, State of Illinois, and is a “consurner”
as that term is defined by 15 U.S.C. § 1692a(3).
Defendant Bleecker, Brodey & Andrews (hereinafter “Defendant”) is a law firm acting as a

collection agency operating from an address of 9247 N. Meridian Street, Suite 101,

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Indianapolis, Indiana 46260, and is a “debt collector” as that term is defined by 15 U.S.C. §
1692a(6).

FACTUAL ALLEGATIONS
Upon information and belief, and approximately July of 2016, Justin Lopez, residing at
118 Emery Street, Joliet, Illinois, incurred a financial obligation that was primarily for
personal, family or household purposes and is therefore a “debt” as that term is defined
by 15 U.S.C. § 1692a(5), namely, a personal credit card debt with Best Buy Credit
Services, in the approximate amount of $1,200.00, which was used by him for personal,
family and household purchases.
Sometime thereafter, the debt, while in default, was consigned, placed or otherwise
transferred to Defendant for collection from the Plaintiff.

F actual Allegations

On or about December 7, 2017, Defendant filed a collection complaint against the
Plaintiff regarding a debt owed by the other Justin Lopez. The Plaintiff, Justin J.
Lopez, does not owe this debt.
Thereafter, Plaintiff took several days off of work to appear in Will County Circuit Court
to dispute the Debt. Plaintiff informed the Defendant that he did not owe the debt. As a
result of missing work, he lost wages.
This complaint was a false and deceptive statement as he was not the borrower and the
debt was not owed by Plaintiff.
Plaintiff has incurred substantial costs to correct the situation. In addition, Defendant’s

actions have caused the Plaintiff to suffer severe emotional distress and mental anguish

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Summary
All of the above-described collection communications made to Plaintiff by Defendant,
Defendant, were made in violation of numerous and multiple provisions of the FDCPA,
including but not limited to 15 U.S.C. § 1692b(2), 1692b(3), 16920(a)(1), 1692d, 1692d(5),
1692e, 1692€(1), 1692e(2), 1692e(3), 1692e(5), 1692€(7), 1692e(10), 1692e(11), 1692e(14),
l692f, and 1692f(6), amongst others.
During their collection communications, Defendants and these individual debt collectors
employed by Defendant CFG repeatedly failed to provide Plaintiff with the notices
required by 15 U.S.C. § l692e(11), in violation of numerous and multiple provisions of
the FDCPA, including but not limited to 15 U.S.C. § 1692(b)2 16926, 1692e(2) 1692e(5),
and 1692f, amongst others.
The above-detailed conduct by these Defendants of harassing Plaintiff in an effort to collect
this debt was a violation of numerous and multiple provisions of the FDCPA, including but
not limited to all of the above mentioned provisions of the FDCPA, as well as an invasion of
Plaintiff"s privacy by an intrusion upon seclusion and by revelation of private financial facts
and resulted in actual damages to the Plaintiff
Plaintiff does not owe this debt, and therefore Defendants attempts to collect this debt from
him were a false and deceptive practice and a threat to take action that they Were not legally
entitled to take.
Defendants’ repeated disclosures of Justin Lopez’s indebtedness to Plaintiff Was an invasion
of his privacy and his right to financial privacy.
Defendants repeated attempts to collect this debt from Plaintiff, a person whom did not owe

this debt, was an invasion of Plaintiff‘ s privacy and his right to be left alone.

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Defendants’ illegal abusive collection communications as more fully described above were
the direct and proximate cause of severe emotional distress on the part of both Plaintiff and
caused him unnecessary personal strain in their relationship with each other, as well as with
other family members.
Plaintiff has suffered actual damages as a result of these illegal collection communications
by these Defendant in the form of anger, anxiety, emotional distress, fear, frustration, upset,
humiliation, embarrassment, amongst other negative emotions, as well as suffering from
unjustified and abusive invasions of personal privacy and legal fees.
TRIAL BY JURY
Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues so
triable. US Const. amend. 7. Fed.R.Civ.P. 38.
CAUSES OF ACTION
COUNT I.
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692 et seq.
Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully stated herein.
The foregoing acts and omissions of each and every Defendant and their agents constitute
numerous and multiple violations of the FDCPA including, but not limited to, each and
every one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with
respect to the Plaintiff.
As a result of each and every Defendant’s violations of the FDCPA, Plaintiff is entitled to

actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up

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to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and
costs pursuant to 15 U.S.C. § l692k(a)(3), from each and every Defendant herein.
COUNT II.
INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY
REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY
24. Plaintiff incorporates by reference all of the paragraphs of this Complaint as though fully
stated herein.
25. Congress explicitly recognized a consumer’s inherent right to privacy in collection
matters in passing the Fair Debt Collection Practices Act, when it stated as part of its
findings:
Abusive debt collection practices contribute to the number of personal
bankruptcies, to marital instability, to the loss of jobs, and to invasions of
individual privacy.

15 U.S.C. § 1692(a) (emphasis added).

26. Congress further recognized a consumer’s right t'o privacy in financial data in passing the
Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for a
broad range of “financial institutions” including debt collectors albeit without a private
right of action, when it stated as part of its purposes:

lt is the policy of the Congress that each financial institution has an
affirmative and continuing obligation to respect the privacy of its
customers and to protect the security and confidentiality of those
customers’ nonpublic personal information

15 U.S.C. § 6801(a) (emphasis added).

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Defendants and/or their agents intentionally and/or negligently interfered, physically or
otherwise, with the solitude, seclusion and or private concerns or affairs of the Plaintiff,
namely, by repeatedly and unlawfully attempting to collect a debt and thereby invaded
Plaintiff’ s privacy.

Defendants also intentionally and/or negligently interfered, physically or otherwise, With
the solitude, seclusion and or private concerns or affairs of the Plaintiff, namely, by
repeatedly and unlawfully disclosing information about the debt of another and to other
third parties and having him served by the a civil process server, and thereby invaded
Plaintist right to financial privacy.

Defendants and their agents intentionally and/or negligently caused emotional harm to
the Plaintiff by engaging in highly offensive conduct in the course of collecting this debt,
thereby invading and intruding upon the Plaintiff’ s rights to privacy.

The Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude, seclusion,
private concerns or affairs, and private financial information

The conduct of these`Defendants and their agents, in engaging in the above-described
illegal collection conduct against the Plaintiff, resulted in multiple intrusions and
invasions of privacy by these Defendants which occurred in a way that would be highly
offensive to a reasonable person in that position.

As a result of such intrusions and invasions of privacy, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from each and every Defendant.

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PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff prays that judgment be entered against each and every Defendant:

COUNT I.

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

15 U.S.C. § 1692 et seq.

0 for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against each and

every Defendant and for each Plaintiff;

0 for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

§1692k(a)(2)(A) against each and every Defendant and for each Plaintiff;

0 for an award of costs of litigation and reasonable attomey’s fees pursuant to 15 U.S.C. §

1692k(a)(3) against each and every Defendant and for each Plaintiff; and

0 for such other and further relief as may be just and proper.

Dated: February 15, 2018

Respectfully submitted,
Frankfort Law Group

By: s/Thomas W. Toolis
Thomas W. Toolis , Esq.
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Attorney for Plaintiff

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VERIFICATION ()F COMPLAINT AND CERTIFICATION

STATE ()F ILLINOIS )

CGUNTY OF WILL

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Plaintiff, Justin J. Lopez, having first been duly sworn and upon oath, deposes and
says as foll'ows:

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l am a Plaintiff in this civil proceeding

l have read the above-entitled civil Complaint prepared hy my attorneys and we
believe that all of the facts contained in it are trile, to the best of our knowledg'e,
information and belief formed after reasonable inquiry

l believe that this civil Complaint is Well grounded in fact and Warranted by
existing law or by a good faith argument for the extension, modification, or
reversal of existing l'aw.

1 believe that this civil Complaint is not interposed for any improper pulpose,
Such as tO,- harass any Defendant(s), cause unnecessary delay to any Defendant($)',
or create a needless increase in the cost of litigation to any Defendant(s), named in
the Complaint

1 have filed this civil Complaint in good faith and solely for the purposes set forth
in it.

`E'ach and every exhibit l have provided to my attorneys which has been attached
to this Complaint is a true and correct copy of the original

Except for clearly indicated redactions made by my attorneys where appropriated
have not altered, changed, modified, or fabricated these exhibits, except that some
‘ attached exhibits may contain some of my own handwritten notationsl

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Subscribed and sworn to before me
this )'65 »_Wday of_ hara ar~_\/__. 2018

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